AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                                  Western
                                                      __________ District     District of Missouri
                                                                          of __________

                    United States of America
                               v.                                           )
                                                                            )
                                                                            )    Case No: 94-00194-12-CR-W-GAF
    Keven L. Wyrick, aka Kevin L. Wyrick
                                                                            )    USM No: 08724-045
Date of Original Judgment:         5/27/97                                  )
Date of Previous Amended Judgment:                                          )    pro se
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                   months is reduced to                                      .
                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                                                  shall remain in effect.
IT IS SO ORDERED.
                                                                                       s/ Gary A. Fenner
Order Date:          February 21, 2024
                                                                                                         Judge’s signature


Effective Date:                                                       Gary A. Fenner, Senior United States District Judge
                     (if different from order date)                                                    Printed name and title




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